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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                              MDL No. 2804



                                         (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO í87)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,373 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                                   FOR THE PANEL:


                       Apr 11, 2019
                                                                   John W. Nichols
                                                                   Clerk of the Panel




    I hereby certify that this instrument is a true and correct copy of
    the original on file in my office. Attest: Sandy Opacich, Clerk
    U.S. District Court, Northern District of Ohio
    By: /s/Robert Pitts
    Deputy Clerk
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                MDL No. 2804



                   SCHEDULE CTOí87 í TAGíALONG ACTIONS



 DIST       DIV.     C.A.NO.     CASE CAPTION


ARIZONA

  AZ         4       19í00166    Pima, County of v. Purdue Pharma LP et al
  AZ         4       19í00167    Tucson, City of v. Purdue Pharma LP et al

MINNESOTA

  MN         0       19í00875    Winona County v. Purdue Pharma L.P. et al

NEW HAMPSHIRE

  NH         1       19í00325    Strafford County v. Purdue Pharma L.P. et alOpposed 4/10/19
  NH         1       19í00326    Belknap County v. Purdue Pharma L.P. et al Opposed 4/10/19
  NH         1       19í00328    Cheshire County v. Purdue Pharma L.P. et alOpposed 4/10/19
  NH         1       19í00329    Belmont, NH, Town of v. Purdue Pharma L.P. et Opposed
                                                                                  al    4/10/19
                                                                               Opposed 4/10/19
  NH         1       19í00331    Claremont, NH, City of v. Purdue Pharma L.P. et al
  NH         1       19í00332    Grafton County v. Purdue Pharma L.P. et alOpposed 4/10/19
  NH         1       19í00333    Rockingham County v. Purdue Pharma L.P. et    al
                                                                             Opposed 4/10/19
  NH         1       19í00334    Sullivan County v. Purdue Pharma L.P. et alOpposed 4/10/19

NORTH DAKOTA

                                 Cass County, North Dakota et al v. Purdue Pharma L.P.
  ND         3       19í00055    et al

OKLAHOMA EASTERN

                                 Pittsburg County Board of County Commissioners v.
  OKE        6       19í00100    Purdue Pharma, LP et al Opposed 4/10/19

OKLAHOMA NORTHERN

 OKN         4       19í00171    City of Owasso v. Purdue Pharma L.P. et al   Opposed 4/10/19

OKLAHOMA WESTERN

 OKW         5       19í00280    Yukon City of v. Purdue Pharma LP et al Opposed 4/10/19
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WISCONSIN WESTERN

                                 Bad River Band of Lake Superior Chippewa v.
 WIW        3       19í00229     McKesson Corporation et al
